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 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                          CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                        ORDER ON BRIEFING PAGE LIMITS
                                                              (Docs. 371-372.)
13          vs.
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES, et al.,
15
                            Defendants.
16                                                /
17          Defendants Northern California Universal Enterprises Co. and Lotus Developments, L.P. seek
18   leave to exceed this Court’s briefing limits for their post-trial motions. In cursory fashion, defense
19   counsel fails to indicate by how many pages he seeks to exceed the briefing limits. This Court does not
20   provided open-ended briefing limits and treats briefs in excess of page limits as a necessity, not a luxury
21   to be taken lightly. This Court PERMITS defendants Northern California Universal Enterprises Co. and
22   Lotus Developments, L.P. to file an opening brief not to exceed 30 pages on the condition that such brief
23   is well-organized, clear and succinct and avoids unnecessary duplication. All other briefing shall
24   conform to the Standing Order page limitations of this Court, unless this Court orders otherwise.
25          IT IS SO ORDERED.
26   Dated:       May 10, 2010                            /s/ Lawrence J. O'Neill
     66h44d                                           UNITED STATES DISTRICT JUDGE
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